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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




  APRIL HANKINS, et al.,                                       Civil Action No. 15-203 (JMV)


                                 Plaintiffs,
  v.

  PHILADELPHIA CONTRIBUTIONSHIP                                             ORDER
  INSURANCE COMPANY, et al.,

                                 Defendants.

        IT IS on this 5th day of March, 2020

        ORDERED THAT:

        1.      A Final Pretrial Conference shall be conducted before the Undersigned pursuant

to Civil Rule 16(d) on May 27, 2020 at 10:00 a.m. at the U.S. Post Office and Courthouse, 1

Federal Square, Fourth Floor, Courtroom 9, Newark, New Jersey. There shall be no adjournments

absent extraordinary circumstances.

        2.      All counsel are directed to assemble at the office of plaintiff's counsel not later than

ten (10) days before the pretrial conference to prepare the Pretrial Order in the form and content

required by the Court. Agreed upon jury instructions, verdict sheet, voir dire, trial briefs and a

neutral statement limited to one page or less setting forth the issue(s) of the case to be read to the jury

by the Court before openings are to be included in counsels’ submissions. Plaintiff's counsel shall

prepare the Pretrial Order and shall submit it to all other counsel for approval.
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       3.     The original of the Pretrial Order and all required submissions shall be delivered to

Chambers on or before May 22, 2020. All counsel are responsible for the timely submission of

the Pretrial Order. A copy of Judge Vasquez’s form of Final Pretrial Order and other instructions

have been supplied to you.




                                                      /s/ Mark Falk
                                                    MARK FALK
                                                    Chief U.S. Magistrate Judge




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